Case 1:13-cv-00555-JTN ECF No. 33-1 filed 02/24/14 PagelD.310 Page 1 of 3

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF MICHIGAN

 

AP PRODUCTS, INC.,

a Michigan corporation,
Case No. 1:1 3-cv-555

Plaintiff/Counterclaim Defendant,
Honorable Janet T. Neff

 

 

VS.
MEDIATION SETTLEMENT

RONALD L. CHESNUT, AGREEMENT
an individual,

Defendant/Counterclaimant.
Charles R. Bappert (P41647) William D. Howard (P36886)
Biringer, Hutchinson, Lillis, Howard Law Group
Bappert & Angell, P.C. Attorneys for Defendant/Counterclaimant
Attorneys for Plaintiff/Counterclaim Defendant 25 Ionia Avenue SW, Suite 230
100 West Chicago Street Grand Rapids, MI 49503
Coldwater, ME 49036-1897 (616) 235-6000

(517) 279-9745

NOW COME the parties, Plaintiff AP Products, Inc., by and through its attorneys,
Biringer, Hutchinson, Lillis, Bappert & Angell, P.C., and Defendant Ronald L. Chesnut, by and
through his attorneys, Howard Law Group, this matter been mediated with Michael C. Walton as
Mediator on Monday, December 9, 2013, to stipulate and enter into this Settlement Agreement
for good and valuable consideration, such consideration including the terms of this Agreement,
as follows:

1. The parties shall execute a Mutual Confidentiality and a Disclosure and Non-
Disclosure Agreement and Non-Disparagement Agreement as drafted by counsel with regard to

this action and the settlement.

EXHIBIT 1
Case 1:13-cv-00555-JTN ECF No. 33-1 filed 02/24/14 PagelD.311 Page 2 of 3

2, The parties agree that the License Agreement dated April 5, 2006, is hereby
terminated subject to the provisions set forth in this Settlement Agreement.

3. Plaintiff has certain inventory in its possession which is subject to the License
Agreement dated April 5, 2006, and has ordered certain materials from component suppliers with
which to assemble inventory which would be subject to the License Agreement dated April 5,
2006.

| 4, The parties agree that despite the termination of the License Agreement as set
forth herein, Plaintiff shall continue to pay a royalty to Defendant of five percent (5%) of the
base selling price for each licensed unit or subassembly sold as set forth im Part 3 of the License
Agreement dated April 5, 2006.

5. The parties agree that Plaintiff has or may acquire or assemble and may sell
licensed units or subassemblies subject to the License Agreement dated April 5, 2006, up to and
including March 31, 2014.

6. The parties agree that Plaintiff may sell or supply materials from component
suppliers for either warranty or repair purposes.

7. The parties agree that Plaintiff shall hire an accountant agreeable to Defendant to
verify the accuracy of royalty payments for each licensed unit or subassembly sold as set forth in
Part 3 of the License Agreement dated April 5, 2006, for the period between January 1, 2013 up

to and including March 31, 2014.

8. Plaintiff releases any claim which it has in Patent No. 6,609,766 to Defendant.
9. Defendant releases any claim which he has in the trademark or copyright “Unified

Tow Brake” to Plaintiff.

U4 9495 351OG0LA GR Mediation Settlement Apreemen.docx dep
Case 1:13-cv-00555-JTN ECF No. 33-1 filed 02/24/14 PagelD.312 Page 3 of 3

10. The parties agree to enter into a Mutual Release and Settlement Agreement and to
dismiss United States District Court for the Western District of Michigan Case No. 1:13-cev-555,
utilizing documents agreeable to counsel.

11. Any and all disputes regarding the execution, performance, intent or meaning of
this Mediation Agreement or the Full and Final Release and Settlement Agreement shall be
submitted to Michael C. Walton, Mediator, for resolution.

BIRINGER, HUTCHINSON, LILLIS,

BAPPERT & ANGELL, P.C.
Attorneys for Plaintiff/Counterclaim Defendant

Date: December 4 , 2013 By:

 

Charles R. Bappert (P41647)
Address:

100 West Chicago Street

Coldwater, MI 49036-1897
Telephone: (617 9745

   

Date: December , 2013 By: f
Thibeog—t Ad Wei iv

Its Pte sites

HOWARD LAW GROUP

  

Date: December 9 2013 By:

Address:
25 Ionia Ave SW, Suite 230
Grand Rapids, MI 49503
Telephone: (616) 235-6000

Date: December 4) 2013 By: kM ut

Ronald L. Chesnut

 

UN49\495 35000: AGR Mediation Setllement Apreemen.dacx dep
